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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


PHERAH LLC,

               Plaintiff,

v.
                                                         C. A. No. 1:17-cv-1679-RGA
UNLEASHED SOFTWARE INC.,

               Defendant.


                              STIPULATION TO EXTEND TIME

        IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Pherah LLC (“Pherah”) and Defendant Unleashed Software Inc. (“Unleashed”), subject to the

approval of the Court, that Unleashed be granted a 30-day extension to January 17, 2018 to move,

answer, or otherwise respond to the Complaint in this action. The reason for this requested

extension is to allow counsel for Defendant additional time to investigate the allegations set forth

in Pherah’s Complaint, consult with their client, and consider an appropriate response. No party

will be prejudiced by this brief extension.
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Dated: December 4, 2017

/s/ Stamatios Stamoulis                  /s/ Jeremy D. Anderson
Stamatios Stamoulis #4606                Jeremy D. Anderson (#4515)
stamoulis@swdelaw.com                    FISH & RICHARDSON P.C.
Richard C. Weinblatt #5080               222 Delaware Avenue, 17th Floor
weinblatt@swdelaw.com                    P.O. Box 1114
STAMOULIS & WEINBLATT LLC                Wilmington, DE 19899
Two Fox Point Centre                     (302) 778-8407
6 Denny Road, Suite 307                  janderson@fr.com
Wilmington, DE 19809
(302) 999-1540                           COUNSEL FOR DEFENDANT
                                         UNLEASHED SOFTWARE INC.
Papool S. Chaudhari
(Pro Hac Vice application pending)
Chaudhari Law, PLLC
P.O. Box 1863
Wylie, Texas 75098
Phone: (214) 702-1150
Fax: (214) 705-3775
Papool@ChaudhariLaw.com

ATTORNEYS FOR PLAINTIFF
PHERAH LLC



      SO ORDERED this ___ day of _________, 2017.


                                         _______________________________________
                                         UNITED STATES DISTRICT JUDGE




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